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                          IN THE UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION


    IN RE:                                            No. 1:23-md-03076-KMM
    FTX CRYPTOCURRENCY EXCHANGE
    COLLAPSE LITIGATION                               MDL No. 3076



    This Document Relates To:

    Garrison v. Wasserman Media Group, LLC
    and Dentsu McGarry Bowen LLC,
    No. 23-cv-24478-KMM



   MOTION BY DEFENDANTS DENTSU MCGARRY BOWEN LLC AND WASSERMAN
     MEDIA GROUP, LLC TO EXCEED BRIEFING PAGE LIMIT FOR REPLY TO
        PLAINTIFFS’ RESPONSE TO DEFENDANTS’ MOTION TO DISMISS

           Defendants, Dentsu McGarry Bowen LLC (“DentsuMB”) and Wasserman Media Group,

   LLC (“Wasserman”) (collectively the “Defendants”), by and through undersigned counsel and

   pursuant to Local Rule 7.1(c)(2), hereby file this Motion for Leave to Exceed the Ten (10) Page

   Limitation set forth by the Local Rule and to file a Reply no longer than twenty-five (25) pages,

   excluding exhibits, and in support thereof states as follows:

      I.          INTRODUCTION

           Under the Local Rules, Defendants would be entitled to ten (10) pages for their Reply. See

   S.D. Fla. L.R 7.1(c)(2). However, Plaintiffs’ Response to Defendants’ Joint Motion to Dismiss

   (“Response”) is thirty-nine (39) pages long, citing numerous cases and statutory authority on the

   state security claims, consumer protection claims, and claims for civil conspiracy and aiding and

   abetting. Plaintiffs’ Class Action Complaint (the “Complaint”) is one hundred forty-three pages

   long, with fourteen different causes of action. The additional length for Defendants’ Reply is
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   necessary to adequately address the volume, scope, and specificity of the allegations, claims, and

   issues raised in Plaintiffs’ Response. Pursuant to the Court’s briefing schedule, Defendants will

   file their Reply on or before May 13, 2024.

          II.          MEMORANDUM OF LAW

                The Court has discretion and inherent authority to permit Defendants to exceed the page

   limitation requirements of Local Rule 7.1. Pursuant to the Local Rule, “[a]bsent prior permission

   of the Court, . . . a reply memorandum shall not exceed ten (10) pages. S.D. Fla. L.R. 7.1(c)(2).

   The Local Rule therefore authorizes this Court to grant leave to file a Reply Motion in excess of

   the page limit.

                Defendants will endeavor to keep its forthcoming Reply succinct and to the point in

   addressing arguments raised in Plaintiffs’ Response. However, given the numerous issues, claims,

   and exhibits addressed in Plaintiffs’ Response, Defendants are requesting to exceed the ten-page

   limit set forth by the Local Rule to completely address each factual and legal basis set forth in their

   Reply. However, given the significant and necessary information set forth in the Plaintiffs’

   Response, Defendants seeks leave to file a Reply no longer than twenty-five pages (excluding

   exhibits).

   III.         CONCLUSION

                WHEREFORE, with respect to the forthcoming Reply, Defendants, Dentsu McGarry

   Bowen LLC, and Wasserman Media Group, LLC, respectfully request that this court GRANT the

   Motion, and enter an Order allowing the Defendants to exceed the ten (10) page limit and file a

   Reply no longer than twenty-five (25) pages.




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                             LOCAL RULE 7.1(a)(3) CERTIFICATION

          Pursuant to Local Rule 7.1(a)(3), counsel for Defendants conferred with counsel for

   Plaintiffs and Plaintiffs have no objection to an extra five (5) pages for Defendants’ Reply.

   Plaintiffs take no position on Defendants’ requested extension of fifteen (15) pages.



   DATED: May 3, 2024                           Respectfully submitted,


    HOLLAND & KNIGHT LLP                        BUCHANAN INGERSOLL & ROONEY PC



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                                      CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on this 3rd day of May, 2024, I electronically filed the foregoing

   with the Clerk of the Court by using the CM/ECF system which will send a Notice of Electronic

   Filing to all counsel of record.


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